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                       UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

In Re:                              )
                                    )
A C E M O T O R A C C E P T A N C E)
CORPORATION                         )
                                    )
                  Debtor.           )
                                    )
____________________________________)                 Case No. 18-30426
                                    )
A C E M O T O R A C C E P T A N C E)                  Chapter 11
CORPORATION                         )
                                    )                 Adv. Pro. No. 18-03036
                  Plaintiff,        )
                                    )
      v                             )
                                    )
MCCOY MOTORS, LLC, MCCOY)
MOTORS, LLC d/b/a RIDE FAST;)
ROBERT MCCOY, JR.; and MISTY MCCOY)
                                    )
                  Defendants.


                                    NOTICE OF HEARING

      The above-captioned Debtor has filed a Motion for Order Granting Leave to File Second
Amended Complaint to Add Parties and Additional Causes of Action and a Motion for Order
Appointing Receiver for McCoy Motors, LLC and Flash Autos LLC with the court.

       YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult with one.)

        If you do not want the Court to allow the relief sought in the motion or objection, or if you
want the Court to consider your views on the Motion, then on or before December 14, 2018, you or
your attorney may:

         1)    File with the Court a written response (an answer, explaining your position) at:

                                  United States Bankruptcy Court
                                 Western District of North Carolina
                                        Charlotte Division
                                      401 West Trade Street
                                       Charlotte NC 28202
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         If you mail your response to the Court for filing, you must mail it early enough so that the Court
will receive it on or before the date stated above.

         2)       If you file a response, you must mail a copy to:

                 James H. Henderson                     Bankruptcy Administrator
                 1201 Harding Place                     402 West Trade Street Suite 200
                 Charlotte, NC 28204-2826               Charlotte NC 28202

        3)    A hearing will be held on December 18, 2018 at 9:30 a.m., United States Bankruptcy
Court, 401 West Trade Street, Courtroom 1-4, Charlotte, North Carolina.

       All interested parties may attend and be heard. (If you do not oppose this Motion/Objection,
you do not have to attend).

         If you or your attorney do not take these steps, the Court may decide that you do not oppose
the relief sought in the motion or objection and may enter an order granting that relief.

Dated:        November 26, 2018.                         THE HENDERSON LAW FIRM

                                                          /s/ James H. Henderson
                                                         James H. Henderson
                                                         State Bar No. 13536
                                                         1120 Greenwood Cliff
                                                         Charlotte, N.C. 28204
                                                         Telephone:     704.333.3444
                                                         Facsimile:     704.333.5003
                                                         Email:         henderson@title11.com
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                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In Re:                               )
                                     )
A C E M O T O R A C C E P T A N C E)
CORPORATION                          )
                                     )
                  Debtor.            )
                                     )
____________________________________ )            Case No. 18-30426
                                     )
A C E M O T O R A C C E P T A N C E)              Chapter 11
CORPORATION                          )
                                     )            Adv. Pro. No. 18-03036
                  Plaintiff,         )
                                     )
        v                            )
                                     )
MCCOY MOTORS, LLC, MCCOY MOTORS, )
LLC d/b/a RIDE FAST; ROBERT MCCOY,)
JR.; and MISTY MCCOY                 )
                                     )
                  Defendants.


                                 CERTIFICATE OF SERVICE

     This is to certify that the undersigned has this day served the attached MOTION FOR ORDER
APPOINTING RECEIVER FOR MCCOY MOTORS, LLC AND FLASH AUTOS LLC AND
NOTICE OF HEARING via email and first class mail as follows:

Robert McCoy, Jr.                                 Robert McCoy, III
3606 Highway 51                                   11915 John K Hall Way
Fort Mill SC 29715                                Charlotte NC 28277

Robert McCoy, Jr.                                 Flash Autos, LLC
robmccoy@comporium.net                            c/o Registered Agent, Robert McCoy III
                                                  3603 Highway 51
                                                  Fort Mill, S.C. 29715
McCoy Motors and Misty McCoy
c/o Kristen Lang, Esq.                            Flash Autos, LLC
Lang Law Firm, P.C.                               3606 Highway 51
2435 Plantation Center Drive, Suite 205           Fort Mill, S.C. 29715
Matthews, NC 28105
kharmonlang@gmail.com                             Robert McCoy, Jr.
                                                  11915 John K Hall Way
                                                  Charlotte NC 28277
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   Dated: November 26, 2018.

                                           THE HENDERSON LAW FIRM
                                           /s/James H. Henderson
                                           James H. Henderson
                                           State Bar No. 13536
                                           1120 Greenwood Cliff
                                           Charlotte NC 28204
                                           Telephone: 704.333.3444
                                           Email: henderson@title11.com
